Case 1:24-cv-00648-AA   Document 23-28   Filed 06/20/24   Page 1 of 9




                        EXHIBIT 31
Case 1:24-cv-00648-AA                    Document 23-28            Filed 06/20/24     Page 2 of 9
                                                                             EXHIBIT 31




 2
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
 3
                                 FOR THE COUNTY OF JACKSON
 4

 5   In the Matter of:

 6   HEIDI MARIE BROWN,                                 Case No. 23CN05721

 7                         Petitioner,                  MOTION FOR ORDER FOR
                                                        DISQUALIFICATION OF JUDGE ORR
            and                                         FOR LACK OF IMPARTIALITY AND
 8
     ARNAUD PARIS,                                      DENIAL OF DUE PROCESS AND
 9                                                      SUPPORTING AFFIDAVIT

10                         Respondent, Pro Per.

11

12
            I, Arnaud Paris, Respondent, Pro Per, in the above-captioned case, moves this
13
     court for an order for the disqualification of Judge Orr in this matter as he has shown a
14
     complete lack impartiality and he has denied me, Father, due process repeatedly
15
     throughout other proceedings in the Jackson county court over the last 6 months.
16
            ORS 14.250 states that:
17
            "No judge of a circuit court shall sit to hear or try any suit, action, matter or
18
     proceeding when it is established (.. .) that any party or attorney believes that such party
19
     or attorney cannot have a fair and impartial trial or hearing before such judge."
20
            On August 3rd , 2023, Father was denied due process in the Jackson County
21
     court in two other matters, 22DR17825 and 23DR08269, by not being permitted to
22
     participate remotely in these proceedings. Father was logically in France with the
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                                                    1
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                                         EXHIBIT 31 - PAGE 1 OF 8
Case 1:24-cv-00648-AA                Document 23-28              Filed 06/20/24           Page 3 of 9


 1   children on August 3 and 4 and was ready, willing, and able to participate in the hearing.

 2   Father had properly filed a motion asking to be allowed to appear remotely (via WebEx)

 3   and followed local rules in submitting his motion. The court improperly denied his motion

 4   as a punishment for Father taking the children to France with him. Moreover, the court

 5   improperly struck all of Father's previous testimony in this matter as yet another

 6   sanction for taking the children to France. (See attached Exhibit 01)

 7          Yet in her recent evidence provided to the French court in her appeal in France

 8   Mother released herself the proof that both the FBI and the US Attorney General

 9   recognize the French judgment and denied Mother's request to press charges against

1O   Father for having taken the children to France under the French judgment confirming

11   that Father did nothing wrong (See Exhibit 02).

12          After the court denied Father's motion to be permitted to testify remotely, it then

13   excluded Father from all further active participation in the hearings. Father should have

14   been permitted to make objections to testimony and evidence offered by Mother, and he

15   should have been permitted to put on his own witnesses. Instead, Father was

16   summarily excluded from actively participating in the hearing in any way which shows

17   clear bias, lack of impartiality and lack of due process from the court towards Father. In

18   addition, at the start of the hearing on August 3, 2023, the court summarily denied

19   Father's motion for mistrial, which was based on the conduct of the same judge hearing

20   the motion. That motion should have been heard by a different judge. After having

21   presented his Motion for Mistrial, Father's counsel was also excluded from all further

22   active participation in the hearings. Father had no possibility to defend himself either as

23   Pro Per or through his counsel, in other words Father was denied his due process
                                                  2
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                                      EXHIBIT 31 - PAGE 2 OF 8
Case 1:24-cv-00648-AA                  Document 23-28               Filed 06/20/24            Page 4 of 9


 1   constitutional rights and the opportunity for a full and fair hearing by the court. (See

 2   Exhibit 03, email from Father's former Counsel, Tom Bittner).

 3          Irregularities or misconduct had previously occurred in these matters since Judge

 4   ORR had made comments in open court, during the course of the hearings on my

 5   motions to dismiss and my concurrent registration case, demonstrated bias and

 6   prejudice against me as a French national. In making these comments, Judge ORR has

 7   demonstrated that he cannot be impartial and fair in deciding this matter.

 8          Oregon Code of Judicial Conduct Rule 3.3 ("Impartiality and Fairness") provides

 9   as follows:

1O          (AJ A judge shall uphold and apply the law and perform all duties of judicial office,

11   including administrative duties, fairly, impartially, and without bias or prejudice.

12          (BJ A judge shall not, in the performance of judicial duties, by words or conduct,

13   manifest bias or prejudice, or engage in harassment, against parties, witnesses,

14   lawyers, or others based on attributes including but not limited to, sex, gender identity,

15   race, national origin, ethnicity, religion, sexual orientation, marital status, disability, age,

16   socioeconomic status, or political affiliation and shall not permit court staff, court

17   officials, or others subject to the judge's direction and control to do so.

18          (CJ A judge shall not take any action or make any comment that a reasonable

19   person would expect to impair the fairness of a matter pending or impending in any

20   Oregon court.

21          During the course of the hearing on my motions to dismiss (and concurrently, on

22   Mother's objection to Father's registration of the French custody determination, case no.

23   23DR08269), Judge ORR made comments and engaged in conduct demonstrating bias
                                                     3
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                                        EXHIBIT 31 - PAGE 3 OF 8
Case 1:24-cv-00648-AA                Document 23-28              Filed 06/20/24            Page 5 of 9


 1   and prejudice against me based on my national origin, French nationals, French

 2   language and culture, and against the Frech judicial system.

 3          The next day, July 13, Father called a business associate, Sebastien Natale as a

 4   witness on my behalf. Mr. Natale is French and testifying remotely from France. Mr.

 5   Murdoch raised an objection regarding the court's ability to fairly administer the

 6   testimonial oath given that Mr. Natale was not subject to the trial court's authority. The

 7   court and Mr. Murdoch then engaged in a colloquy set forth in Exhibit 6, attached hereto

 8   and incorporated herein. In lines 6-9 of Exhibit 6, Judge ORR comments about what the

 9   penalty for perjury might be in France. After saying that the penalty may be "lashing" he

1O says, "[m]aybe they putyou in -" and he then motions as though his head and hands

11   are placed in a pillory. Mr. Murdoch then comments that maybe the punishment would

12   be not being allowed wine for a month, to which the court responds "right," agreeing

13   with Mr. Murdoch's quip.

14          These events, especially when considered together, show bias and prejudice by

15   Judge ORR against the French language, French nationals and the French judicial

16   system. The suggestion that the French judicial system engages in barbaric practices

17   like lashing or the use of a pillory manifests prejudice in both words and conduct.

18   Similarly, Judge ORR's agreement with the idea that French people are so addicted to

19   wine that having to abstain for a month could be punishment for perjury is gross

20   stereotyping of all French nationals and French culture. It is also harassment against

21   Father based on my national origin. Not only was it improper for Judge ORR to agree

22   with Mr. Murdoch's comment, under Rule 3.3(8), above, Judge ORR had an obligation

23   under the same rule to, minimally, admonish Mr. Murdoch for making such an offensive
                                                  4
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                                      EXHIBIT 31 - PAGE 4 OF 8
Case 1:24-cv-00648-AA               Document 23-28             Filed 06/20/24          Page 6 of 9


 1   statement.

 2          Judge ORR's comments and conduct might not seem so improper in some

 3   circumstances, but in this case Judge ORR was being asked to recognize and enforce a

 4   French custody determination in Father's favor and against Mother, who is a Jackson

 5   County, Oregon, native. Judge ORR's view of the French judicial system, French

 6   people, and French language goes to the heart of the issues he must decide. If Judge

 7   ORR has no respect for the French judicial system, or French people, he cannot be fair,

 8   impartial or unbiased in his handling of this matter. Given what has transpired, any

 9   reasonable person would conclude that Judge ORR is biased and prejudiced, and his

1O conduct and comments have impaired the fairness of this proceeding, a violation of

11   Judge ORR's duty under Rule 3.3(C), above.

12         Judge ORR's revelation of his bias and prejudice is remarkable, and in so doing

13   has caused an irregularity in these proceedings that cannot be cured. For all of these

14   reasons the court should have declare a mistrial and reassign this matter to another

15   judge when a motion for mistrial was presented in front of the court by Father's counsel

16   on August 3rd and yet the court refused to assign it to another judge and denied it

17   summarily.

18          During the last two hearings of December 21st and December 28th in case

19   22DR17285, Judge ORR granted Mother a competing custodial determination in total

20   contradiction with the French determinations from April 21st and August 25th in total

21   contradiction with the UCCJEA which now creates an international conflict between

22   France and the United States that will have tremendous repercussions for many years

23   to come and put the children in a complete legal limbo without any possible remedy.
                                                 5
24



                                     EXHIBIT 31 - PAGE 5 OF 8
Case 1:24-cv-00648-AA                Document 23-28              Filed 06/20/24          Page 7 of 9


 1   This will also have criminal consequences onto Father with possibly several warrants for

 2   his arrest as Mother already requested one to Judge ORR during the hearing of

 3   December 28th and to which he commented: "I'm surprised you haven't asked for it

 4   earlier." He had previously made comments during the November 14th of similar nature

 5   'hinting' to Mother that if she was going to ask for a warrant for Father's arrest he would

 6   sign it right away.

 7          Judge Orr's lack of impartiality in this new matter is undeniable at this point as he

 8   is also under investigation from the Judicial Fitness Commission for his improper

 9   behavior mocking French people and the French judicial system in his courtroom. (See

1O attached Exhibit 04)

11          The lack of due process is still ongoing as Father has filed Pro Per thirteen key

12   motions over the last two month for dismissal, mistrial and for staying this case that

13   have all been ignored by Judge Orr refusing even to hear them in his court. (See

14   attached Exhibit 05) And instead Judge Orr decided to move forward with setting trial

15   dates and set a hearing for a Statement of Attorney Fee that Mother is trying to obtain

16   from Respondent claiming that "she has prevailed in this matter". How could Mother

17   have prevailed while trial hasn't even happened yet? Clearly this hearing for Attorney

18   Fee that the court is trying to push onto Father while he is Pro Per is another clear proof

19   of bias from Judge Orr trying to create prejudice to Father and favoring Mother every

20   step of the way.

21          For all these reasons Father, Respondent Pro Per, believes that the

22   disqualification of Judge Orr is necessary and required in this matter since Father

23   cannot have a fair and impartial trial under ORS 14.250. Therefore, Father asks that the
                                                  6
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                                      EXHIBIT 31 - PAGE 6 OF 8
      Case 1:24-cv-00648-AA                 Document 23-28              Filed 06/20/24            Page 8 of 9


       1   "presiding judge for the judicial district shall forthwith transfer the cause, matter or

       2   proceeding to another judge of the court, or apply to the Chief Justice of the Supreme

       3   Court to send a judge to try it." (ORS 14.250).

       4          I hereby declare that the above statement is true to the best of my knowledge

       5   and belief, and that I understand it is made for use as evidence in court and is subject to

       6   penalty for perjury of the laws in the state of Oregon.

       7

"-,
       8   Prepared on January 3rd 2024 in Paris and sent to the court by FEDEX

       9
                  ~-~-"-=
      10   By:/~
           ARNAUD PARIS, Respondent, Pro Per
      11   13 rue Ferdinand Duval,
           75004, PARIS, FRANCE
           Telephone: +33688283641
      12   Email: aparis@sysmicfilms.com
      13

      14

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                                                         7
      24



                                            EXHIBIT 31 - PAGE 7 OF 8
Case 1:24-cv-00648-AA                 Document 23-28               Filed 06/20/24            Page 9 of 9


 1                                  CERTIFICATE OF SERVICE

 2      I hereby certify that I served the foregoing MOTION FOR ORDER FOR
        DISQUALIFICATION OF JUDGE ORR FOR LACK OF IMPARTIALITY AND
 3      DENIAL OF DUE PROCESS AND SUPPORTING AFFIDAVIT on the following party:

                                        Taylor L.M. Murdoch,
 4                                       Buckley Law P.C.
                                   5300 Meadows Road, Suite 200
 5                                    Lake Oswego, OR 97035
                                       TLM@buckley-law.com
 6                                       Attorney for Petitioner

 7   By the following method or methods:

            by mailing full, true, and correct copies thereof in sealed, first class postage
 8   prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
     the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
 9   set forth below.

1o   X    by emailing full, true, and correct copies thereof to the attorney(s) at the email address
     shown above, which is the last known email address for the attorney(s) office, on the date set f rth
     below.
11
          by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
12   shown above, which is the last known fax number for the attorney(s) office, on the date set fort
     below. The receiving fax machines were operating at the time of service and the transmission
13   properly completed.

14          by selecting the individual(s) listed above as a service contact when preparing this electr nic
     filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
     system.
15

16   Prepared on January 3rd 2024 in Paris and sent to the court by FEDEX

17

18                  . .   ~




     By:_·_
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23
                                                    8
24



                                      EXHIBIT 31 - PAGE 8 OF 8
